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                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,          )
                                   )            1:05-CR-0240 AWI
                    Plaintiff,     )
     vs.                           )
                                   )            ORDER FOR RETURN OF
ANNETTE RAMIREZ SALAZAR,           )            NOTE AND DEED OF TRUST
                                   )
                    Defendants.    )
___________________________________)


     The above-named defendant having been dismissed;

     IT IS HEREBY ORDERED that the Note and Deed of Trust

posted in this matter be returned to the surety.

Deed No.:           2005-032835

Receipt No.:        100-201977


IT IS SO ORDERED.

Dated:   February 21, 2008               /s/ Anthony W. Ishii
0m8i78                             UNITED STATES DISTRICT JUDGE
